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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA
                                                    Case No.: 9:22-MJ-08332-BER-1
  v.

  SEALED SEARCH WARRANT
  _________________________________/

                                 NOTICE OF APPEARANCE
         Dana J. McElroy of Thomas & LoCicero PL hereby gives notice of her appearance as

  counsel on behalf of intervenors The New York Times Company (“The Times”), publisher of The

  New York Times, and CBS Broadcasting Inc. (“CBS News”). The certificate of service for all

  pleadings, orders, and other papers in this action should include Dana J. McElroy at Thomas &

  LoCicero PL, 915 Middle River Drive, Suite 309, Fort Lauderdale, FL 33304

  (dmcelroy@tlolawfirm.com; bbrennan@tlolawfirm.com).

  Dated: August 12, 2022                    Respectfully submitted,

                                            THOMAS & LOCICERO PL

                                            /s/ Dana J. McElroy
                                            Dana J. McElroy (FBN 845906)
                                            915 Middle River Drive, Suite 309
                                            Fort Lauderdale, FL 33304
                                            Telephone: (954) 703-3418
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                                            Attorneys for Intervenors The New York Times
                                            Company and CBS Broadcasting Inc.
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of August, 2022, I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all parties and counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel

  or parties who are not authorized to receive electronic Notices of Electronic Filing.


                                                       /s/ Dana J. McElroy
                                                       Dana J. McElroy




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